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January 8, 2025
VIA ECF
Hon. Pamela K. Chen
United States District Court Eastern District of New York
225 Cadman Plaza East, Room N631
Brooklyn, New York 11201

           Re:      Michael Grecco Productions, Inc. v. Alamy Inc. et al. Case No. 1:23-cv-08321-PKC-
                    JAM
Dear Judge Chen:
       On behalf of plaintiff Michael Grecco Productions, Inc. (“MGPI”), I write to inform the Court
that MGPI withdraws and will not pursue a claim of copyright infringement and violation of the Digital
Millennium Copyright Act (“DMCA”) included in the Second Amended Complaint against Alamy Inc.
and Alamy Ltd. (“the Alamy Defendants”) and PictureLux based upon the image listed as number 12 in
Exhibit D to the Second Amended Complaint (Dkt. 69).
        For clarity, MGPI does not seek dismissal of any Count asserted against the Alamy Defendants,
or Picturelux. MGPI continues to pursue its claims for copyright infringement, both direct and indirect,
and violation of the DMCA against the Alamy Defendants (Dkt. 69, Second Am. Compl. First through
Third Claims) and both direct and indirect copyright infringement against PictureLux (Id. at Fourth and
Fifth Claims). Plaintiff no longer alleges that its claims against these Defendants are based on the image
listed as number 12 in Exhibit D.
           We remain available to address any further question the Court may have regarding this issue.
                                                                   Sincerely,
                                                                   /s/ Steven M. Cowley


cc:        All counsel of record (via ECF)




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